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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   SAN ANGELO DIVISION

JACK MILLER, individually, and                    §
o/b/o his minor son, D.M.,                        §
          Plaintiff                               §
                                                  §
v.                                                §       CIVIL ACTION NO. 6:20-cv-00131-H
                                                  §
MICHAEL WEBBER,                                   §
TREY MAYBERRY, and                                §
RAYMOND FRANCIS,                                  §
      Defendants.                                 §

                        CERTIFICATE OF INTERESTED PERSONS

       Michael Webber, Trey Mayberry, and Raymond Francis, Defendants file this their

Certificate of Interested Persons pursuant to Local Rule 3.1 certifying that the following listed

persons or entities have a financial interest in the outcome of this case.

Jack Miller, individually and o/b/o his minor son, D.M.
Plaintiff

Scott H. Palmer
James P. Roberts
Scott H. Palmer, P.C.
Plaintiff’s counsel

Michael Webber
Trey Mayberry
Raymond Francis
Defendants

Jon Mark Hogg
Jackson Walker L.L.P.
Counsel for Defendants

Texas Municipal League Intergovernmental Risk Pool
Provides coverage to the City of San Angelo, Texas
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                                             Respectfully submitted,

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                                             (325) 481-2560
                                             (325) 481-2585 - Facsimile


                                             By: /s/ Jon Mark Hogg
                                                     Jon Mark Hogg
                                                     State Bar No. 00784286

                                             ATTORNEYS FOR DEFENDANTS


                                    CERTIFICATE OF SERVICE

         This is to certify that on the 10th day of February, 2021, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification of such
filing to all attorneys of record on file.


                                             /s/ Jon Mark Hogg
                                             Jon Mark Hogg




CERTIFICATE OF INTERESTED PERSONS – PAGE 2
